              Case 4:06-cr-40019-JPG                     Document 263 Filed 11/28/06                              Page 1 of 6              Page ID
                                                                   #611
%A0 2458      (Rev. 06105) Judgment in a Criminal Case
              Sheet I




                        SOUTHERN                                  District of                                                ILLINOIS

         UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                             v.
                  RYAN L. GARRISON
                                                                        Case Number:                 4:06CR40019-04-JPG

                                                                        USM Number:                  06830-025

                                                                         Christopher Threlkeld
                                                                        Defendant's Attorney
THE DEFENDANT:
@fpleaded guilty to count(s)         1 of the Superseding Indictment.

  pleaded nolo contendere to count(s)
  which was accepted by the court.
   was found guilty on count@)
   after a plea of not guilty.
                                                                                                                                      ."
The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense

                                                                                                         ,-.
                                                                                                                       Offense Ended
                                                                                                                                           "
                                                                                                                                           .     :
                                                                                                                                               .,,,,   .. , ,:A
                                                                                                                                                               Counr
                                                                                                                                                               "'

                                                                                                                                                            ..j :f*
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                                                                                                                                                                   ,:.,a,;
                                                                                                                                                                   !.?&"
                                                                                                                                                                  .,,<(,!'
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                                                                                               .+   ,:         q,;*,     ,. ',
                                                                                                                         V !!:!..
                                                                                                                                    .;..,'              '.
                                                                                                                                                       , 't,
                                                                                                                                                                 .$;,
                                                                                                                                                                 . :,.
                                                                                                                                                                       ."

       The defendant is sentenced as provided in pages 2 through            10              of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
  The defendant has been found not guilty on count(s)
   Count(s)                                               IJ is      are dismissed on the motion of the United States.

           It 1s ordered that the dcfcndant must noriiy thc i;n(ted States anomey for this dismct within 30 da s oiany change ofname, residence,
ormallin 'address unt~lall fines, restirutlon. costs, and spec~alassessments imposed by th~sjudgmentarc fufiy paid. lfordercd to pay restltutlon,
the d e f c n h t must notify the coun and i:nited Swtes anomey ot.material changes in economlc c~rcwnstances.




                                                                         J. Phil Gilbert                                              District Judge
                                                                        Name of Judge                                                Title ofJudge


                                                                                                                                    >aG
                                                                        Date
               Case 4:06-cr-40019-JPG                    Document 263 Filed 11/28/06                     Page 2 of 6        Page ID
A 0 2458
                                                                   #612
             (Rev. 06/05) Judgment in Criminal Case
             Sheet 2 -Imprisonment


DEFENDANT: RYAN L. GARRISON
                                                                                                          Judgment - Page
                                                                                                                            -
                                                                                                                            2 of      10

CASE NUMBER: 4:06CR40019-04-JPG


                                                                IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

  120 months on Count 1 of the Superseding Indictment.




     @ The court makes the following recommendations to the Bureau of Prisons:
 That the defendant be placed in the Intensive Drug Treatment Program.



         The defendant is remanded to the custody of the United States Marshal

     @ The defendant shall surrender to the United States Marshal for this district:
              at                                      I3 a.m.         p.m.     on
         @ as notified by the United States Marshal.
         The defendant shall surrender for sewice of sentence at the institution designated by the Bureau of Prisons:
              before 2 p.m. on
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                             to

at                                                      , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                             BY
                                                                                                    DEPUTY UNITED STATES MARSHAL
                 Case 4:06-cr-40019-JPG                 Document 263 Filed 11/28/06                     Page 3 of 6         Page ID
                                                                  #613
A 0 2458      (Rev.06105) Judgment in a Criminal Case
              Sheet 3 -Supervised Release
                                                                                                           Judgment-Page
                                                                                                                              3     Of          10
DEFENDANT: RYAN L. GARRISON
CASE NUMBER: 4:06CR40019-04-JPG
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

 8 years on Count 1 of the Superseding Indictment.



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant sball not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall su%mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
@ The defendant shall not possess a fxeaearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
@ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
[7      The defendant sball participate in an approved program for domestic violence. (Check, if applicable.)
    If this 'udgment imposes a f ~ orerestitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule ofJpayments sheet of thls judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officeq
  2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
         each month,
  3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)       the defendant shall support his or her dependents and meet other family responsibilities;
  5)       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
  6 ) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7) h e defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, datnbute, or admnistcr any
      controlled substance or any paraphernalia related to any controlled ~uhstanses,e c e p r as prescribed by a physician;
  8)       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)       the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted pemssmn to do so by the profation officer;
 10)       the defendant shall perm~ta probat~onofficer to \,is~thun or her at any tlrne at home or elbe\\,here dnd shall pernut confiscdnon ofany
           contraband obsencd in plaln \'icw of the prohat~onofficer,
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
 13)       as directed by the robation officer, the defendant shall notifythird parties of risks that may be occasioned by +e defendant's criminal
           record or persona? history or charactensbcs and shall p e m t the probation officer to make such nobficatlons and to c o n f i the
           defendant s compliance with such notification requirement.
            Case 4:06-cr-40019-JPG                    Document 263 Filed 11/28/06        Page 4 of 6         Page ID
A 0 2458   (Rev. 06105) Judgment in a Criminal Case             #614
           Sheet 3C - Superv~sedRelease
                                                                                                            4
DEFENDANT: RYAN L. GARRISON
                                                                                            Judgment-Page
                                                                                                            -      of      10
CASE NUMBER: 4:06CR40019-04-JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 imm&iately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participationwill require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.

 X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis,
A 0 2458
              Case 4:06-cr-40019-JPG                        Document 263 Filed 11/28/06                         Page 5 of 6      Page ID
           (Rev. 06/05) Judement in a Criminal Case
                                                                      #615

DEFENDANT: RYAN L. GARRISON
                                                                                                            Judgment-Page
                                                                                                                            -
                                                                                                                            5        of
                                                                                                                                           10
CASE NUMBER: 4:06CR40019-04-JPG
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monekuy penalties under the schedule of payments on Sheet 6.

                      Assessment                                                -
                                                                                Fine                               Restitution
TOTALS            $ 100.00                                                    $ 200.00                           $ 0.00



     The determination of restitution is deferred until
     after such determination.
                                                               -.             An Amended Judgment in a Criminal Case(A0 245C) will be entered


     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified othenvise
     the pnorlty order or percentage payment column%elow. However, pursuant to 18 J S . 5 . 5 36&), all nonfederal vlctnns must be p a ~ d
     before the United States is pald.

Name of Paver                                                                   Tntal*              Restitution Ordered Priorih, or Perrentaee

                                                      I 0    . . ".,                                                .




TOTALS                               $                                 0.00        $                       0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a f n e of more than $2,500, unless the restitution or fine is paid in full before the
      fitleenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      @ the interest requirement is waived for the               @ fme              restitution.
           the interest requirement for the             fme               restitution is modified as follows:


* Findings for the total amount of losses are re uiredunder Chapters 109A, 110,110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 199%.
              Case 4:06-cr-40019-JPG                  Document 263 Filed 11/28/06                      Page 6 of 6          Page ID
A 0 2458   (Rev. 06/05)Judgment in a Criminal Case              #616
           Sheet 6- Schedule of Payments
                                                                                                          Judgment - Page       6     of       10
DEFENDANT: RYAN L. GARRISON
CASE m E R : 4:06CR40019-04-JPG

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     @ Lump sum payment of $                                due immediately, balance due

                 not later than                                   ,Or
                 in accordance               C,       D,           E, or          F below; or

B          Payment to begin immediately (may be combined with                C,          D, or        F below); or

C          Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     c;d Special inshuctions regarding the payment of criminal monetary penalties:
           While on supe~isedrelease, the defendant shall make monthly payments in the amount of $10.00 or ten percent
           of his net monthly income, whichever is greater.




Unless the court has express1 ordered otherwise, if this jud ent imposes imprisonment, a ent of criminal monetary penalties is due durin
imprisonment. All crunuu?moneup penalhes, except E s e payments made thug! g ~ e d e r a Blvnv
Responsibility Program, are made to e clerk of the court.
                                                                                                   l      of Prisons' Inmate Financra               3
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following properly to the United States:




Payments shall be applied in the following order. ( I / assessnient, (2) restlturlon prlncip?l, (3) resr~tot~on
                                                                                                              interest, (4) fine principill,
( 5 ) fine interest, (6) community restitution, (7) pena ties, and (8) costs. ~ncludingcost ot prosecution and coun costs.
